                      IN THE UNITED STATES DISTRICT COURT FOR
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
 v.                                         )     NO. 3:23-cr-00111
                                            )
 STEVEN RAWLINS                             )     JUDGE CAMPBELL



                                         ORDER

       The revocation hearing scheduled for February 15, 2024, is CONTINUED to March 21,

2024, at 11:00 a.m.

       It is so ORDERED.



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                                                WILLIAM L. CAMPBELL, JR.
                                                UNITED STATES DISTRICT JUDGE




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